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 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF OHIO


                In Re:                                                                          §
                                                                                                §
                TUCKER SR., ADRIAN                                                              §           Case No. 15-13411 AIH
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 06/16/2015 . The undersigned trustee was appointed on 06/16/2015 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $                    363.85

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                                 0.00
                                                  Bank service fees                                                                       0.00
                                                  Other payments to creditors                                                             0.00
                                                  Non-estate funds paid to 3rd Parties                                                    0.00
                                                  Exemptions paid to the debtor                                                           0.00
                                                  Other payments to the debtor                                                            0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $                    363.85

                 The remaining funds are available for distribution.


          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 12/07/2015 and the
      deadline for filing governmental claims was 12/13/2015 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 90.96 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

              The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 90.96 , for a total compensation of $ 90.96 2. In addition, the trustee received reimbursement
      for reasonable and necessary expenses in the amount of $ 0.00 , and now requests reimbursement
      for expenses of $ 55.65 , for total expenses of $ 55.65 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 05/13/2019                                     By:/s/TRUSTEE VIRGIL E. BROWN, JR.
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             15-13411       AIH Judge: Arthur I. Harris                                                                                 Trustee Name:                     TRUSTEE VIRGIL E. BROWN, JR.
Case Name:           TUCKER SR., ADRIAN                                                                                                        Date Filed (f) or Converted (c):   06/16/15 (f)
                                                                                                                                               341(a) Meeting Date:               07/20/15
For Period Ending: 05/13/19                                                                                                                    Claims Bar Date:                   12/07/15



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. Single Home Dwelling Location: 15 Glenwood Drive,                                      11,800.00                                0.00           OA                                  0.00                     FA
 2. CASH ON HAND                                                                                  5.00                              0.00                                               0.00                     FA
 3. PNC BANK, CHECKING *3246                                                                     44.00                              0.00                                               0.00                     FA
 4. HOUSEHOLD GOODS AND FURNISHINGS                                                          1,350.00                               0.00                                               0.00                     FA
 5. WEARING APPAREL                                                                             675.00                              0.00                                               0.00                     FA
 6. JEWELRY                                                                                     150.00                              0.00                                               0.00                     FA
 7. 401(K)                                                                                   2,051.00                               0.00                                               0.00                     FA
 8. 2001 CHEVROLET TAHOE 175K MILES                                                          2,900.00                               0.00                                               0.00                     FA
 9. bonus (u)                                                                                     0.00                           250.00                                             250.00                      FA
     Original balance was abandoned by Trustee as unable to collect.
 10. PREFERENCE PAYMENT                                                                           0.00                           113.85                                             113.85                      FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                        $18,975.00                            $363.85                                            $363.85                             $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   9/19/17 Estate to collect funds from Debtor or file to abandon


   9/27/16 debtor paying estate


   10/8/15 2004 to be set


   Initial Projected Date of Final Report (TFR): 06/30/16           Current Projected Date of Final Report (TFR): 06/30/19




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                                                                                        FORM 1
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page:       2
                                                                                     ASSET CASES                                                                           Exhibit A
Case No:            15-13411      AIH Judge: Arthur I. Harris                                            Trustee Name:                      TRUSTEE VIRGIL E. BROWN, JR.
Case Name:          TUCKER SR., ADRIAN                                                                   Date Filed (f) or Converted (c):   06/16/15 (f)
                                                                                                         341(a) Meeting Date:               07/20/15
                                                                                                         Claims Bar Date:                   12/07/15


           /s/    TRUSTEE VIRGIL E. BROWN, JR.
   __________________________________________ Date: 05/13/19
           TRUSTEE VIRGIL E. BROWN, JR.




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                                                                                                 FORM 2                                                                                        Page:    1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:             15-13411 -AIH                                                                                          Trustee Name:                     TRUSTEE VIRGIL E. BROWN, JR.
  Case Name:           TUCKER SR., ADRIAN                                                                                     Bank Name:                        BOK FINANCIAL
                                                                                                                              Account Number / CD #:            *******5656 Checking Account
  Taxpayer ID No:    *******9699
  For Period Ending: 05/13/19                                                                                                 Blanket Bond (per case limit):    $ 1,337,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                              3                                                4                                               5                      6                 7
    Transaction       Check or                                                                                                       Uniform                                                   Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                           0.00
          06/02/16        9        ADRIAN TUCKER SR.                              Payment from debtor                               1229-000                   250.00                                    250.00
                                   197 NOBLE BEACH DR
                                   EUCLID, OH 44123
          06/04/16       10        ADRIAN TUCKER SR.                              PREFERENCE PAYMENT                                1141-000                   113.85                                    363.85
                                   197 NOBLE BEACH DR
                                   EUCLID, OH 44123
          04/10/19                 Trsf To Axos Bank                              FINAL TRANSFER                                    9999-000                                         363.85                 0.00

                                                                                                          COLUMN TOTALS                                        363.85                363.85                  0.00
                                                                                                              Less: Bank Transfers/CD's                          0.00                363.85
                                                                                                          Subtotal                                             363.85                  0.00
                                                                                                              Less: Payments to Debtors                                                0.00
                                                                                                          Net
                                                                                                                                                               363.85                  0.00




                                                                                                                              Page Subtotals                   363.85                 363.85
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                                                                                               FORM 2                                                                                                    Page:      2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                     Exhibit B
  Case No:             15-13411 -AIH                                                                                        Trustee Name:                       TRUSTEE VIRGIL E. BROWN, JR.
  Case Name:           TUCKER SR., ADRIAN                                                                                   Bank Name:                          Axos Bank
                                                                                                                            Account Number / CD #:              *******0066 Checking Account
  Taxpayer ID No:    *******9699
  For Period Ending: 05/13/19                                                                                               Blanket Bond (per case limit):      $ 1,337,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                              4                                                 5                          6                         7
    Transaction       Check or                                                                                                     Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                      Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                        0.00
          04/10/19                 Trsf In From BOK FINANCIAL                     INITIAL WIRE TRANSFER IN                        9999-000                     363.85                                                363.85

                                                                                                        COLUMN TOTALS                                          363.85                        0.00                       363.85
                                                                                                            Less: Bank Transfers/CD's                          363.85                        0.00
                                                                                                        Subtotal                                                  0.00                       0.00
                                                                                                            Less: Payments to Debtors                                                        0.00
                                                                                                        Net
                                                                                                                                                                  0.00                       0.00
                                                                                                                                                                                NET                             ACCOUNT
                                                                                                        TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                        Checking Account - ********5656                        363.85                          0.00                       0.00
                                                                                                        Checking Account - ********0066                            0.00                        0.00                   363.85
                                                                                                                                                ------------------------    ------------------------   ------------------------
                                                                                                                                                               363.85                          0.00                   363.85
                                                                                                                                                ==============             ==============              ==============
                                                                                                                                                 (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                            Transfers)               To Debtors)                    On Hand




                                                                                                                            Page Subtotals                     363.85                         0.00
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                                                                             EXHIBIT C
 Page 1                                                                                                                               Date: May 13, 2019
                                                                      ANALYSIS OF CLAIMS REGISTER

  Case Number: 15-13411                                                   Claim Class Sequence
  Debtor Name: TUCKER SR., ADRIAN
  Claims Bar Date: 12/07/15

 Code #            Creditor Name & Address               Claim Class      Notes                     Scheduled               Claimed             Allowed
 000001          Cavalry SPV I, LLC                    Unsecured           Filed 09/08/15                 $0.00           $3,278.27             $3,278.27
 070             P O Box 27288
 UC              Tempe, AZ 85282

 000002          Midland Credit Management, Inc. as    Unsecured           Filed 09/11/15                 $0.00           $4,418.12             $4,418.12
 070             agent for
 UC              MIDLAND FUNDING LLC
                 PO Box 2011
                 Warren, MI 48090

 000003          Porania LLC                           Unsecured           Filed 10/05/15                 $0.00             $191.32               $191.32
 070             P. O. Box 35183
 UC              Seattle, WA 98124-5183

 000004          American InfoSource LP as agent for   Unsecured           Filed 11/03/15                 $0.00             $246.09               $246.09
 070             Verizon
 UC              PO Box 248838
                 Oklahoma City, OK 73124-8838

 000005          Illuminating Company                  Unsecured           Filed 11/03/15                 $0.00           $1,690.89             $1,690.89
 070             1310 Fairmont Ave
 UC              Fairmont, WV 26554

 000006          Portfolio Recovery Associates, LLC    Unsecured           Filed 12/07/15                 $0.00           $1,560.36             $1,560.36
 070             POB 12914
 UC              Norfolk VA 23541

 000007          American InfoSource LP as agent for   Unsecured           Filed 12/07/15                 $0.00             $482.60               $482.60
 070             DIRECTV, LLC
 UC              PO Box 51178
                 Los Angeles, CA 90051-5478




                     Case Totals:                                                                         $0.00          $11,867.65            $11,867.65
          Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 15-13411 AIH
     Case Name: TUCKER SR., ADRIAN
     Trustee Name: TRUSTEE VIRGIL E. BROWN, JR.
                         Balance on hand                                              $                   363.85

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
       Trustee Fees: TRUSTEE VIRGIL E.
       BROWN, JR.                                     $               90.96 $             0.00 $             90.96
       Trustee Expenses: TRUSTEE VIRGIL E.
       BROWN, JR.                                     $               55.65 $             0.00 $             55.65
                 Total to be paid for chapter 7 administrative expenses               $                   146.61
                 Remaining Balance                                                    $                   217.24


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE




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             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 11,867.65 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 1.8 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     000001               Cavalry SPV I, LLC         $         3,278.27 $              0.00 $             60.01
                          Midland Credit
     000002               Management, Inc. as        $         4,418.12 $              0.00 $             80.87
     000003               Porania LLC                $           191.32 $              0.00 $               3.50
                          American InfoSource LP as
     000004               agent for                 $            246.09 $              0.00 $               4.51
     000005               Illuminating Company       $         1,690.89 $              0.00 $             30.95
                          Portfolio Recovery
     000006               Associates, LLC            $         1,560.36 $              0.00 $             28.56
                          American InfoSource LP as
     000007               agent for                 $            482.60 $              0.00 $               8.84
                 Total to be paid to timely general unsecured creditors               $                  217.24
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:




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                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




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